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                    IN THE UNITED STATES DISTRCT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

                       Plaintiff,

 v.                                              Case No. 21-CR-30023-SPM


 KEVIN HUTCHINSON,

                       Defendant.


                  ORDER FOR PRESENTENCE PROCEDURE

MCGLYNN, Judge:

       The Court enters this Order in anticipation of the sentencing hearing to inform the

parties and counsel of the undersigned’s sentencing procedures. In addition to the

undersigned’s preferences, strict compliance with Federal Rule of Criminal Procedure 32

and Southern District of Illinois Local Rule Cr. 32.1 will be required.

       Any objections to the Presentence Report (PSR), including the Recommended

Terms and Conditions of Supervised Release proposed by the United States Probation

Office, must be filed no later than 14 days after the PSR is docketed in the Case

Management/Electronic Case Filing (“CM/ECF”) system. Responses to objections must

be filed no later than 7 days after objections are received.

       If the Government or Defendant believes additional terms or conditions of

supervision (i.e., terms or conditions not recommended by the Probation Office) are

appropriate, it is the responsibility of the prosecutor or defense counsel to file objections

to the Recommended Terms in a manner consistent with the time limits set forth above,


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in order to allow opposing counsel sufficient notice and opportunity to thoroughly

respond at sentencing.

      The parties are encouraged to consult with the probation officer who authored the

PSR before filing formal objections to the PSR, in an effort to obtain agreement to revise

the report without the necessity of formal objections. Any unresolved objections to the

PSR which are subject to a formal objection shall cause the probation officer to prepare

an addendum addressing each objection. Objections to the Recommended Terms will be

addressed by the Court at sentencing. If there are only minor objections to the

Recommended Terms of Supervised Release or none at all, Defendant and defense

counsel may sign a Full or Partial Waiver of the Reading of Terms and Conditions of

Supervision. The waiver forms are attached to this Order, and the executed document

can be hand-delivered to the courtroom deputy at the time of sentencing.

      Sentencing memoranda are strongly encouraged in cases where there is not a joint

recommendation regarding an appropriate sentence. Any sentencing memorandum

must be filed no later than 14 days before the sentencing hearing. A response to a

sentencing memorandum may be filed no later than 7 days before the sentencing hearing.

Likewise, if either party intends to present testimony at the sentencing hearing, notice of

the proposed witnesses, the subject of each witness’s testimony, and the projected length

of the testimony shall be filed with the Court (and served on opposing counsel) no later

than 7 days before the sentencing hearing. Generally, the Court schedules sentencing

hearings for an hour, and this information will allow the Court the opportunity to change

its schedule, if necessary. If extraordinary circumstances make filings inconsistent with



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these deadlines unavoidable, the Court will consider an appropriate continuance of the

sentencing hearing.

       Finally, the attorneys are reminded that communications from victims or from

supporters of Defendant should be channeled through counsel or probation—not sent

directly to the Court.

       IT IS SO ORDERED.

       DATED: March 22, 2021

                                              s/ Stephen P. McGlynn
                                              STEPHEN P. MCGLYNN
                                              U.S. District Judge




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